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                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               BEAUMONT DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
V.                                               §        CASE NO. 1:12-CR-6(1)
                                                 §
JAMES LEE GARY aka Cowboy                        §


                          MEMORANDUM ORDER
             ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                       ON DEFENDANT’S GUILTY PLEA

       The Court referred this matter to the Honorable Zack Hawthorn, United States Magistrate

Judge, for administration of a guilty plea under Rule 11 of the Federal Rules of Criminal Procedure.

Judge Hawthorn conducted a hearing in the form and manner prescribed by Federal Rule of Criminal

Procedure 11 and issued his Findings of Fact and Recommendation on Guilty Plea Before the United

States Magistrate Judge. The magistrate judge recommended that the Court accept the Defendant’s

guilty plea, but defer acceptance of the plea agreement until the Court has had an opportunity to

review the presentence report. He further recommended that the Court adjudge the Defendant guilty

on Count One of the Indictment filed against the Defendant.

       The parties have not objected to the magistrate judge’s findings. The Court ORDERS that

the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate Judge are

ADOPTED. The Court accepts the Defendant’s plea, but defers acceptance of the plea agreement

until the Court has reviewed the presentence report. The Court ORDERS the Defendant’s attorney

to read and discuss the presentence report with the Defendant, and file any objections to the report

BEFORE the date of the sentencing hearing.



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       It is further ORDERED that, in accordance with the Defendant’s guilty plea and the

magistrate judge’s findings and recommendation, the Defendant, James Lee Gary aka Cowboy, is

adjudged guilty as to Count One of the Indictment charging violation of Title 21, United States Code,

Section 846.

         So ORDERED and SIGNED this 14 day of August, 2012.




                                                        ___________________________________
                                                        Ron Clark, United States District Judge




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